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       BROWN & CONNERY, LLP
       William M. Tambussi, Esq. (ID No. 031431983)
       Jonathan L. Triantos, Esq. (ID No. 210172016)
       360 Haddon Avenue
       P.O. Box 539
       Westmont, New Jersey 08108
       (856) 854-8900
       Attorneys for Plaintiff

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


       MALL CHEVROLET, INC.,                   Civil Action No.: 1:18-cv-15077-JRP-KMW

                    Plaintiff,

             v.

       GENERAL MOTORS LLC,

                    Defendant.




       ________________________________________________________________________

                CERTIFICATION OF JONATHAN L. TRIANTOS, ESQUIRE
       ________________________________________________________________________
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                              I, Jonathan L. Triantos, Esquire, being of full age, hereby certify as follows:

                              1.      I am an attorney with the law firm of Brown & Connery, LLP, counsel for

                       the Plaintiff, Mall Chevrolet, Inc. (“Mall”) in the above-captioned matter.          I have

                       personal knowledge of the facts set forth herein.

                              2.      Attached hereto as Exhibit 1 is a true and accurate copy of Charles

                       Foulke’s Deposition Transcript.

                              3.      Attached hereto as Exhibit 2 is a true and accurate copy of Daniel

                       Adamcheck’s Deposition Transcript.

                              4.      Attached hereto as Exhibit 3 is a true and accurate copy of Catherine

                       Snyder’s Deposition Transcript.

                              5.      Attached hereto as Exhibit 4 is a true and accurate copy of Carl Riley’s

                       Deposition Transcript.

                              6.      Attached hereto as Exhibit 5 is a true and accurate copy of Curt

                       Friedlander’s Deposition Transcript.

                              7.      Attached hereto as Exhibit 6 is a true and accurate copy of the Dealer

                       Sales and Service Agreement between GM and Mall.

                              8.      Attached hereto as Exhibit 7 is a true and accurate copy of Craig

                       Colender’s Deposition Transcript.

                              9.      Attached hereto as Exhibit 8 is a true and accurate copy of Gary

                       LaKemper’s Deposition Transcript.

                              10.     Attached hereto as Exhibit 9 is a true and accurate copy of Jane Estes’

                       Deposition Transcript.
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                              11.    Attached hereto as Exhibit 10 is a true and accurate copy of Mall’s

                       3/30/17 Performance Review.

                              12.    Attached hereto as Exhibit 11 is a true and accurate copy of Mall’s

                       3/21/18 Performance Review.

                              13.    Attached hereto as Exhibit 12 is a true and accurate copy of Mall’s

                       3/15/19 Performance Review.

                              14.    Attached hereto as Exhibit 13 is a true and accurate copy of Mall’s

                       9/12/19 Performance Review.

                              15.    Attached hereto as Exhibit 14 is a true and accurate copy of an E-mail

                       from Brian Sweeney, dated 01/18/17.

                              16.    Attached hereto as Exhibit 15 is a true and accurate copy of an E-mail

                       from Brian Sweeney, dated 01/25/18.

                              17.    Attached hereto as Exhibit 16 is a true and accurate copy of

                       ChannelVantage National Dealer Rankings.

                              18.    Attached hereto as Exhibit 17 is a true and accurate copy of an E-mail

                       from Jay Ferraro, dated 09/12/18.

                              19.    Attached hereto as Exhibit 18 is a true and accurate copy of an E-mail

                       from Dan Adamcheck, dated 03/01/16.

                              20.    Attached hereto as Exhibit 19 is a true and accurate copy of an E-mail

                       from William Fleck, dated 09/01/16.

                              21.    Attached hereto as Exhibit 20 is a true and accurate copy of an E-mail

                       from William Fleck, dated 01/05/17.
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                              22.    Attached hereto as Exhibit 21 is a true and accurate copy of E-mails from

                       Curt Friedlander and Dan Adamcheck, dated 03/20/19-03/21/19.

                              23.    Attached hereto as Exhibit 22 is a true and accurate copy an E-mail from

                       DealerRater, dated 01/23/18.

                              24.    Attached hereto as Exhibit 23 is a true and accurate copy of E-mails from

                       Jane Estes, dated 05/01/17.

                              25.    Attached hereto as Exhibit 24 is a true and accurate copy of a Letter from

                       Craig Joseph, dated 05/19/17.

                              26.    Attached hereto as Exhibit 25 is a true and accurate copy of an E-mail

                       from Jane Estes, dated 04/23/17

                              27.    Attached hereto as Exhibit 26 is a true and accurate copy of Mall’s

                       Termination Reports.

                              28.    Attached hereto as Exhibit 27 is a true and accurate copy of a Letter from

                       Thayer Muallem, dated 07/05/17.

                              29.    Attached hereto as Exhibit 28 is a true and accurate copy of an E-mail

                       from Gary LaKemper, dated 07/11/17.

                              30.    Attached hereto as Exhibit 29 is a true and accurate copy of a Letter from

                       Gary LaKemper, dated 07/31/17.

                              31.    Attached hereto as Exhibit 30 is a true and accurate copy of GM’s Auditor

                       Notes and Status Updates.

                              32.    Attached hereto as Exhibit 31 is a true and accurate copy of E-mails from

                       Steven Whitlow, Gary LaKemper, and Catherine Snyder, dated 10/03/17-10/04/17.
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                              33.    Attached hereto as Exhibit 32 is a true and accurate copy of an E-mail

                       from Craig Colender, dated 10/03/17.

                              34.    Attached hereto as Exhibit 33 is a true and accurate copy of GM’s Notice

                       of Breach to Mall.

                              35.    Attached hereto as Exhibit 34 is a true and accurate copy of an E-mail

                       from Catherine Snyder, dated 11/6/17.

                              36.    Attached hereto as Exhibit 35 is a true and accurate copy of Mall’s

                       Response to Notice of Breach w/out enclosures.

                              37.    Attached hereto as Exhibit 36 is a true and accurate copy of Thayer

                       Muallem’s Deposition Transcript.

                              38.    Attached hereto as Exhibit 37 is a true and accurate copy of the GM’s

                       Notice of Termination to Mall.

                              39.    Attached hereto as Exhibit 38 is a true and accurate copy of the GM’s

                       Documents Relating to Pennsylvania Dealer.

                              40.    Attached hereto as Exhibit 39 is a true and accurate copy of Catherine

                       Snyder’s Deposition Transcript – Confidential Version.

                              41.    Attached hereto as Exhibit A is a true and accurate copy of the Dealer

                       Sales and Service Agreement between GM and Mall.

                              42.    Attached hereto as Exhibit B is a true and accurate copy of an E-mail from

                       Steven Whitlow, dated 10/4/17.

                              43.    Attached hereto as Exhibit C is a true and accurate copy of Ray Moffatt’s

                       Termination Report.
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                              44.    Attached hereto as Exhibit D is a true and accurate copy of a Letter from

                       Craig Joseph, dated 05/19/17.

                              45.    Attached hereto as Exhibit E is a true and accurate copy of Craig

                       Nicholson’s Termination Report.

                              46.    Attached hereto as Exhibit F is a true and accurate copy of Larry Pfeifer’s

                       Separation Report.

                              47.    Attached hereto as Exhibit G is a true and accurate copy of Leonard

                       Yackimowicz’s Separation Report.

                              48.    Attached hereto as Exhibit H is a true and accurate copy of a Letter from

                       Thayer Muallem, dated 07/05/17.

                              49.    Attached hereto as Exhibit I is a true and accurate copy of an E-mail from

                       Gary LaKemper, dated 07/11/17.

                              50.    Attached hereto as Exhibit J is a true and accurate copy of the 2015 edition

                       of GM’s Service Policies and Procedures Manual.

                              51.    Attached hereto as Exhibit K is a true and accurate copy of the 2016

                       edition of GM’s Service Policies and Procedures Manual.

                              52.    Attached hereto as Exhibit L is a true and accurate copy of GM’s Notice

                       of Breach to Mall.

                              53.    Attached hereto as Exhibits M and N are true and accurate copies of

                       Mall’s Response to Notice of Breach w/ enclosures.

                              54.    Attached hereto as Exhibit O is a true and accurate copy of GM’s Notice

                       of Termination to Mall.
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                                      I certify that the foregoing statements made by me are true. I am aware

                       that if any of the foregoing statements made by me are willfully false, I may be subject to

                       punishment.


                                                                       Respectfully submitted,

                                                                       BROWN & CONNERY, LLP
                                                                       Attorneys for Plaintiff

                       Dated: February 28, 2020                   By: s/ Jonathan L. Triantos
                                                                      Jonathan L. Triantos, Esq.




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